       Case 1:25-cv-11048-ADB           Document 100        Filed 06/06/25       Page 1 of 5




                               UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE,

                        Plaintiff,                                   No. 25-cv-11048-ADB

                v.

 UNITED STATES DEPARTMENT OF HEALTH
 AND HUMAN SERVICES, et al.,

                        Defendants.




     UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF AS AMICI CURIAE IN
        SUPPORT OF HARVARD’S MOTION FOR SUMMARY JUDGMENT

       The Commonwealth of Massachusetts moves for leave to file an amicus brief on behalf of

itself and other states (“Amici States”) in support of Harvard’s Motion for Summary Judgment

(ECF No. 69). In support of the motion, Massachusetts asserts the following:

       1.      Amici States are home to research universities that, like Harvard, play a critical role

in the economies of Amici States, including by creating jobs, spurring innovation, and training the

future workforce.

       2.      Amici States and their residents will be irreparably harmed if the federal

government is permitted to freeze funding to research universities as a means to assert academic

control.

       3.      It is within a court’s “sound discretion” whether to permit amicus briefing. Strasser

v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970). Amicus briefing may be permitted “to assist the

court in cases of great public interest by making suggestions to the court, by providing



                                                 1
       Case 1:25-cv-11048-ADB           Document 100           Filed 06/06/25   Page 2 of 5




supplementary assistance to existing counsel, and by insuring a complete and plenary presentation

of difficult issues so that the court may reach a proper decision.” Students for Fair Admissions,

Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass.), aff’d, 807 F.3d 472

(1st Cir. 2015) (internal citations and quotations omitted).

       4.      The proposed brief will assist the Court in its consideration of the pending motion

because the Amici States can address the crucial role of federally-funded research universities in

driving the economies of states, and the devastating spill-over effects that cuts to university

research funding would have on business, career development, innovation, and public health

within Amici States.

       5.      Counsel for Massachusetts has conferred with counsel of record for the parties in

this case. Plaintiff and Defendants do not oppose this motion.

                                         CONCLUSION

       For the foregoing reasons, Massachusetts respectfully requests that the Court grant its

motion for leave to file an amicus brief on behalf of Amici States in support of Harvard’s Motion

for Summary Judgment (ECF No. 69).

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                                                  2
Case 1:25-cv-11048-ADB    Document 100   Filed 06/06/25     Page 3 of 5




Respectfully submitted,                    Dated: June 6, 2025

                                    ANDREA JOY CAMPBELL
                                     Attorney General of Massachusetts

                                    /s/ Anna Lumelsky_________
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                                3
       Case 1:25-cv-11048-ADB           Document 100        Filed 06/06/25      Page 4 of 5




                 CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

        I, Anna Lumelsky, hereby certify that I have conferred with counsel of record for the parties
in this case via email on June 4, 2025 in a good faith attempt to resolve and narrow the issues
posed by the motion. I further certify that the motion is unopposed.


                                                              /s/ Anna Lumelsky
                                                              Anna Lumelsky
                                                              Deputy State Solicitor
                                                              Commonwealth of Massachusetts




                                                 4
       Case 1:25-cv-11048-ADB          Document 100        Filed 06/06/25      Page 5 of 5




                                CERTIFICATE OF SERVICE

       I, Anna Lumelsky, hereby certify that I have this day, June 6, 2025, served the foregoing
document upon all parties of record, by electronically filing to all ECF-registered parties and by
sending a copy, first-class mail, postage prepaid to all unregistered parties.

                                                             /s/ Anna Lumelsky
                                                             Anna Lumelsky
                                                             Deputy State Solicitor
                                                             Commonwealth of Massachusetts




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